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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Philips North America LLC, et al.           )
                                            )
         Plaintiﬀs,                         )
                                            )      21-cv-3615
v.                                          )
                                            )      Magistrate Judge Laura K. McNally
Global Medical Imaging, LLC, et al.         )
                                            )
         Defendants.                        )

                         MEMORANDUM ORDER REGARDING
                      DOCUMENTS OBTAINED BY PHILIPS FROM AHS

        Before the Court is a dispute about what should be done with a vast quantity of
purportedly privileged documents that were not obtained through formal discovery
and that will never be part of this case. As that framing suggests, this Court concludes
that it lacks jurisdiction to make any further orders with respect to these documents,
and it withdraws any order limiting Philips’ access to these materials.

I.       Background

        This motion relates to a set of more than 400,000 documents obtained by Philips
from AHS 1 (the “AHS Documents”). Philips asserts that AHS obtained these documents
when “AHS acquired the business operations of Global Imaging, LLC (‘GMI’) and its
sister companies through bankruptcy. That acquisition included business records as
well as inventory, which included adulterated medical imaging devices.” (Decl. of C.
Wirtschafter Dkt. 374-1, ¶ 2.)

       Philips’ brieﬁng and supporting declaration do not identify the bankruptcy court
case name or caption, the docket entry, or the speciﬁc order that is the source of its

1Philips’ brieﬁng refers to the entity that provided it the disputed documents as “AHS,” without
a speciﬁc identiﬁcation of the entity’s formal name. The Court suspects that this entity is AHS
Acquisition Holdings, LLC, an entity whose relevance is discussed below, but Philips’ imprecise
brieﬁng leaves open the possibility that the documents came to Philips from a diﬀerent AHS
aﬃliate that received the documents from AHS Acquisition Holdings, LLC.
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representation regarding the method by which AHS acquired GMI’s business records.
Philips did, however, attach the Second Amended and Restated Asset Purchase
Agreement Dated as of December 9, 2024 By and Among Jordan Health Products I, Inc.
and Its Aﬃliates Named Herein, As Sellers, and AHS Acquisition Holdings, LLC As
Purchaser (the “AHS Asset Purchase Agreement”) as the agreement by which AHS
obtained the AHS Documents. The AHS Asset Purchase Agreement appears as Exhibit
A to Dkt. 350 in the bankruptcy court action In re Jordan Health Products I, Inc., 24-12271-
TMH (Bankr. D. Del.) (the “Jordan Health Bankruptcy”) 2.

       Docket Entry 305 is titled Order (A) Authorizing (I) the Sale of the Debtor’s
Assets Free and Clear of All Liens, Claims, Encumbrances, and Other Interests; (II) the
Debtors to Enter Into and Perform Their Obligations Under the Asset Purchase
Agreement and Related Documents; and (III) The Debtors to Assume and Assign
Certain Contracts and Unexpired Leases; (B) Granting a Waiver of the Stay Periods
Under Bankruptcy Rules 6004(h) and 6006(d); and (C) Granting Related Relief. (Bankr.
Dkt. 305) (the “Jordan Health Asset Sale Order.”)

       The Court will not attempt to summarize the details of the Jordan Health Asset
Sale Order. As pertinent here, the Jordan Health Asset Sale Order authorized the sale of
debtor assets as set forth in the AHS Asset Purchase Agreement (Bankr. Dkt. 305-1; Dkt.
371-4 in this case). Absent this blessing by the Bankruptcy Court, the Jordan Health
Debtors would not have been permitted to sell, and AHS would not have been
permitted to acquire, debtor assets without running afoul of the automatic bankruptcy
stay.

        The AHS Asset Purchase Agreement speciﬁed which assets would be transferred
from the Jordan Health Debtors to AHS, all subject to Bankruptcy Court approval.
Section 1.1 of the agreement identiﬁes a list of “the Acquired Assets.” (Dkt 371-4, pp. 2-
3). Section 1.2 lists “Excluded Assets.” Among these excluded assets are “Sellers’
attorney-client and work-product privileges, provided that Sellers shall enter into a joint
privilege agreement with the Purchaser (the ‘Common Interest Agreement’) in respect
to material covered by the attorney-client or work produce privilege pertaining to
Sellers’ litigation and disputes with [Philips]).” (Id. at p. 4.)




2Co-Defendant GMI’s bankruptcy is docketed in the associated case In re Global Imaging, LLC,
24-12272-TMH (Bankr. D. Del.). Together, GMI and Jordan Health are referred to as the “Jordan
Health Debtors.”

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       The Common Interest Agreement memorializes “certain understandings reached
with regard to the Parties’ common legal interests in matters related to [Jordan Health
Debtors’] and [AHS]’s litigation or disputes with . . . Philips . . . .” (Dke 371-5, p. 1.) This
agreement provides that all materials “that would otherwise be protected from
disclosures to third parties and that are exchanged between or among the Parties . . . in
connection with the Actions . . . will remain conﬁdential and protected from disclosure
to any third party by the Parties’ attorney-client privileges, the Parties’ Representatives’
attorney work product protections, and any other applicable privileges and
protections.” (Id.) The Common Interest Agreement also provides that common interest
information “will not be disclosed by the recipient to any third party without the
written consent of the Party that in the ﬁrst instance made such Common Interest
Information available to another Party pursuant to this agreement . . . .” (Id. at 2.)

       Philips has represented to this Court that the AHS Documents were Jordan
Health Debtor documents transferred to AHS pursuant to the AHS Asset Purchase
Agreement. From there, AHS transferred the AHS Documents to Philips pursuant to a
Cooperation Agreement executed on April 25, 2025. (Dkt. 374-2, Declaration at p. 2.)
Philips did not provide a copy of the Cooperation Agreement to the Court or to Jordan
Industries. Philips represented that AHS did not consent to sharing the Cooperation
Agreement without signiﬁcant redactions “because the majority of the agreement has
nothing to do with the documents AHS provided to Philips.” (Dkt. 370, n.1.)

       On April 28, 2025, the ﬁnal day of fact discovery in this case, Philips produced
more than 23,000 documents (nearly 250,000 pages) from the AHS Documents to Jordan
Industries (the “AHS Document Production”). Philips represented that more documents
would be provided to Philips from AHS, and they intended to include those documents
in the production set as well. Philips represents that to date, it has received more than
400,000 AHS Documents. (Dkt. 374-2, Declaration at p. 2.)

       On May 12, 2025, Jordan Industries moved to strike the AHS Documents (Dkt.
364, pp. 6-7.) In that motion, Jordan Industries asserted, inter alia, that the AHS
Document Production “includes indisputably privileged documents.” (Id. at 6.) As
further developed in later brieﬁng, Jordan Industries represents that more than 1300
documents “contained hits for Dentons,” the ﬁrm that presently represents Jordan
Industries and, as of the dates in the documents in the AHS Document Production, also
represented Jordan Health and GMI. (Dkt. 375-1, pp. 3, 5.) Jordan Industries further
asserted that during the period of shared representation, these aﬃliates shared a
common legal interest. (Id. at 4.) Accordingly, Jordan Industries argued, the AHS


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Document Production improperly included Jordan Industries’ own privileged materials
without its consent or waiver.

        On May 14, 2025, the Court held that the AHS Document Production on the last
day of discovery was untimely, and it struck these documents from the set of
production documents that could be relied upon by either party, absent agreement of
the parties. (Dkt 365 (the “Exclusion Order”).) These documents had long been
available, either from the debtors directly (assuming the requesting party obtained stay
relief from the bankruptcy court) or from AHS by subpoena following the Jordan
Health Asset Sale Order on December 10, 2024. Accordingly, in its discretion, the Court
concluded that there was no good cause to permit Philips rely on this enormous volume
of materials produced on the last day of discovery (or, as anticipated, later). Concluding
that these materials were not going to be part of the case, the Court determined that it
did not need to rule whether the AHS Document Production, or the AHS Documents
more generally, included privileged materials.

       This brings us to the question of what should happen to these excluded AHS
Documents. Jordan Industries argues that Philips should either destroy all of the AHS
Documents or allow Dentons to review and claw back its privileged materials, at
Philips’ expense.

       Philips argues that no documents transferred by AHS could include privileged
materials because, by the terms of the AHS Asset Purchase Agreement, AHS did not
obtain privileged materials from the debtors. More fundamentally, Philips argues, this
Court does not have jurisdiction to issue orders regarding excluded materials obtained
by Philips from AHS pursuant to a separate commercial relationship between AHS and
Philips.

II.       Analysis

          A. Philips Did Not Act Improperly By Obtaining The AHS Materials Through
             Informal Fact-Gathering Rather Than By Subpoena.

       There is no dispute that Philips did not obtain the AHS Materials through a Rule
45 subpoena or other formal discovery process. Instead, Philips received these
documents through consensual bargaining between AHS and Philips. Jordan
International asserts that such informal factﬁnding is an improper “end run” around
the rules governing discovery. In Jordan International’s view, Philips was required to
use Rule 45 to obtain materials from third party AHS. The Court rejects this remarkable
proposition.

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       The Rules of Civil Procedure provide invaluable tools to assist parties in
obtaining the materials necessary for trial preparation. Indeed, America’s muscular
discovery system is, in many respects, the envy of the world. But these tools exist only
to give the requesting party the ability to obtain materials they might not otherwise
have access to through voluntary cooperation. If a party obtains materials through
voluntary cooperation, it is entitled to use those materials, so long as the party
otherwise cooperates with discovery requests that might call for production of those
informally-obtained documents.

        It was in that spirit that Philips produced the AHS Document Production to
Jordan International. Jordan International oﬀers cases citing the importance of Rule 45,
but it cites to no caselaw stating that it is improper for a party to obtain materials
through voluntary cooperation.

      B. The Court Lacks Grounds to Evaluate Philips’ Possession of the AHS
         Documents.

       Apart from its argument regarding informal fact-gathering, Jordan International
asserts that Philips wrongfully possesses privileged documents that are to be found in
the AHS Documents (the “Potentially Privileged AHS Documents”). For the Court to
evaluate that question, it would inevitably be called upon to evaluate whether the
Potentially Privileged AHS Documents were in fact approved for sale by the Jordan
Health Bankruptcy Court’s Assets Sale Order, which in turn would require
interpretation of both the AHS Asset Purchase Agreement and the Common Interest
Agreement incorporated therein. The only actors in that transfer, the Jordan Health
Debtors and AHS, are not before this Court: the Jordan Health Debtors are the
beneﬁciaries of the automatic stay and AHS is a non-party to this action.

       The scope of the Jordan Health Bankruptcy Court’s order is a topic best
addressed by the Bankruptcy Court, not this Court. And that’s not just this Court’s
opinion; AHS and the Jordan Health Debtors reached that same conclusion when they
drafted Section 10.13 of the AHS Asset Purchase Agreement:

      Each of the Parties irrevocably agrees that any Action that may be based
      upon, arising out of, or related to this Agreement or the negotiation,
      execution or performance of this Agreement and the transactions
      contemplated hereby brought by any other Party or its successors or
      assigns will be brought and determined only in (a) the Bankruptcy Court
      and any federal court to which an appeal from the Bankruptcy Court may


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      be validly taken or (b) in the event the Bankruptcy Case is closed, or if the
      Bankruptcy Court is unwilling or unable to hear such Action, in the
      Delaware Chancery Court and any state court sitting in the State of
      Delaware to which an appeal from the Delaware Chancery Court may be
      validly taken (or, if the Delaware Chancery Court declines to accept
      jurisdiction over a particular matter, any state or federal court within the
      state of Delaware) ((a) and (b), the “Chosen Courts”), and each of the
      Parties hereby irrevocably submits to the exclusive jurisdiction of the
      Chosen Courts for itself and with respect to its property, generally and
      unconditionally, with regard to any such Action arising out of or relating
      to this Agreement and the transactions contemplated hereby. Each of the
      Parties agrees not to commence any Action relating thereto except in the
      Chosen Courts, other than Actions in any court of competent jurisdiction
      to enforce any judgment, decree or award rendered by any Chosen Court,
      and no Party will ﬁle a motion to dismiss any Action ﬁled in a Chosen
      Court on any jurisdictional or venue-related grounds, including the
      doctrine of forum non-conveniens.

(AHS Asset Purchase Agreement SECTION 10.13).

       Jordan International might assert that the forum selection clause would not
apply because its dispute with Philips involves two parties who were not part of the
original AHS Asset Sale Agreement, but that argument only highlights the problem.
This Court is, in sum, being asked to opine on a contractual agreement between parties
who are not before the Court.

       There’s more. If the Court were to conclude that the Potentially Privileged AHS
Documents were properly in the AHS’ hands, the Court would next be called upon to
evaluate whether AHS was permitted to transfer those Potentially Privileged AHS
Materials to Philips. As with the previous issue, the AHS Asset Purchase Agreement
and Common Interest Agreement would be the starting point for this analysis. In
addition, the Court would be required to evaluate the Cooperation Agreement, the
contract by which AHS provided these materials to Philips. That document has never
been produced, and this Court has no grounds on which to evaluate how that
Agreement might inﬂuence the outcome of this dispute.

       But even if the Court could get past these problems, it would need to determine
whether some or all of the Potentially Privileged AHS Documents were, in fact, ever
privileged, and if so, whether they still retained that character by the time they made

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their way to Philips. That inquiry would require information regarding the nature of
speciﬁc documents, as well as information regarding the nature and scope of the
purported common interest among Jordan Internation and two Jordan Health Debtors
who cannot participate in the conversation due to the automatic stay.

        Complicating all of these problems even further is that of the 400,000-plus AHS
Documents, less than 6% were ever produced in this litigation. Once the Court ruled
that the AHS Documents would be excluded from use in this case, Philips did not
complete production of the full set of AHS Documents. In sum, then, the Court would
be evaluating transactions involving non-parties and stayed debtors, applying contracts
that are either missing or bound by forum selections clauses that do not permit review
in this Court, and making calls as to privilege on documents that have never been and
will never be part of this case. The Court declines to undertake that evaluation.

       The Court recognizes that the 23,000 documents in the AHS Document
Production were produced by Philips before the Court excluded their use. Jordan
International argues that Rule 26(b)(5)(B) provides grounds for review in this forum.
This Section provides:

       If information produced in discovery is subject to a claim of privilege or of
       protection as trial-preparation material, the party making the claim may
       notify any party that received the information of the claim and the basis
       for it. After being notiﬁed, a party must promptly return, sequester, or
       destroy the speciﬁed information and any copies it has; must not use or
       disclose the information until the claim is resolved; must take reasonable
       steps to retrieve the information if the party disclosed it before being
       notiﬁed; and may promptly present the information to the court under
       seal for a determination of the claim. The producing party must preserve
       the information until the claim is resolved.

Fed. R. Civ. P. 26(b)(5)(B).

       This Rule cannot bear the weight of Jordan Industries’ argument. First, by its
terms, it speaks of a disclosing party and a receiving party. Here, with respect to the
AHS Document Production, the disclosing (i.e., producing) party was Philips and the
receiving party was Jordan Industries. Using those party names, it becomes clear that
this Rule is intended to prevent a receiving party from obtaining another party’s
documents. It is not intended to prevent a receiving party from seeing its own
privileged materials.


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        Jordan International argues that Rule 26(b)(5)(B) also applies to documents
obtained from a third party. Even if these cases were binding on this Court (or were
even decided by a district in our Circuit), the cases cited by Jordan International, have
nothing to do with the situation presented here. Maxtena, Inc. v. Marks, 289 F.R.D. 427,
442-44 (D. Md. 2012) oﬀered no analysis of the issue present in this case. Instead,
Maxtena focused on whether inadvertent production (pursuant to subpoena) had
operated to waive privilege pursuant to Fed. R. Civ. P. 45(d)(2)(B), and noted that Rule
26(b)(3)(B) might be applicable to rectify the inadvertent disclosure. Thompson v.
Intermodal Cartage, 2025 WL 299971 *2 (S.D. Miss. Jan. 24, 2025) is even less relevant. The
only mention of Rule 26(b)(5) is for the unremarkable (and irrelevant here) point that a
partying withholding otherwise discoverable materials on the basis of privilege must
provide details about the claim to the requesting party. Jordan Industries has provided
no authority applying Rule 26(b)(5)(B) as advanced here. In this Court’s view, this Rule
is not a ﬁt for situation at bar.

       Jordan International references the Court’s “’inherent authority’ over the
integrity of the judicial proceedings.” The judicial proceedings before this Court are this
dispute and this dispute alone. While the Court has sympathy to Jordan Industries’
frustrations, this venue is not the place for it to ﬁnd relief.




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       Accordingly, the Court rescinds any interim order relating to Philips’ review or
use of the AHS Documents, aside from its Order that the AHS Materials may not be
used in this case. It is important to note what this ruling is not saying: the Court is not
opining on any question of privilege relating to the Potentially Privileged AHS
Documents. There may be another venue, involving some or all of the parties
referenced above, where such a dispute maybe be brought. This Court only holds that
the Philips North America LLC v. Global Medical Imaging, LLC, Case No. 21-cv-3615, is not
that place.

SO ORDERED.



                                                 ENTER:

                                                 ______________________________

                                                 LAURA K. MCNALLY

                                                 United States Magistrate Judge



DATED: June 25, 2025




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